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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT


LENSENDRO LAGUERRE,

               Plaintiff,

                  v.                              Case No. 3:24-cv-01760
CAPITAL ONE BANK,

                 Defendant.



      DEFENDANT CAPITAL ONE’S REPLY MEMORANDUM OF LAW
                  IN FURTHER SUPPORT OF THE
    MOTION TO DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT




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        Defendant Capital One, N.A. (improperly pleaded as “Capital One Bank”) (“Capital One”),

by and through its legal counsel, Troutman Pepper Locke LLP, respectfully submits this Reply

Memorandum of Law in further support of Capital One’s Motion to Dismiss the Second Amended

Complaint (the “Motion”) [Doc. 33] of Plaintiff Lensendro Laguerre (“Plaintiff”). For the reasons

set forth in Capital One’s initial moving submission and those further set forth herein, the Court

should grant Capital One’s Motion pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure (“FRCP”) and dismiss Plaintiff’s Second Amended Complaint, in its entirety and with

prejudice, and award Capital One its legal fees and costs and such other relief as the Court deems

just and proper.

                                           LEGAL ARGUMENT

I.      Plaintiff’s Opposition Fails to Address the Incurable Pleading Deficiencies of
        Plaintiff’s ECOA Claim.

        A.       Plaintiff’s ECOA Claim Must be Dismissed Because Plaintiff Does Not Plead
                 and Cannot Plead that He Submitted an Application for Credit with Capital
                 One.

        Plaintiff’s ECOA claim fails as a matter of law because Plaintiff never submitted a

completed application for credit with Capital One. In his own pleadings Plaintiff admits he was

only a pre-applicant. See Doc. 32 at ¶ 15, Ex. C1; Id. at ¶ 11 (alleging Plaintiff “visited the official

Capital One website to request credit”) (emphasis added); Id. at ¶ 14 (alleging Capital One “did

not allow [Plaintiff] to proceed further” with completing an application for credit); Id. at ¶ 18

(alleging Capital One “precluded [Plaintiff] from completing an application(s) because of [his]




1
 Annexed by Plaintiff as Exhibit C to Plaintiff’s Second Amended Complaint is an August 13, 2024 letter from Capital
One notifying Plaintiff that Capital One “can’t pre-approve you for a… credit card... Here are the reasons why we
couldn’t match you with an offer: Based on your Pre-Approval form information, income is insufficient for amount
of credit requested.” See Doc. 32, p. 7.



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income”) (emphasis added); Doc. 34, p. 2 (alleging Capital One “put [Plaintiff] through a pre-

approval or screening process before letting [Plaintiff] compete a full form…”)

       In his Opposition, Plaintiff cites 12 C.F.R. § 1002.2(f) to claim he submitted an

“application” to Capital One under ECOA’s regulatory framework. See Doc. 34, p. 2. The same

regulation, however, defines an “application” as, “A completed application means an application

in connection with which a creditor has received all the information that the creditor regularly

obtains and considers in evaluating applications for the amount and type of credit requested.” 12

C.F.R. § 1002.2(f) (emphasis in original).

       Plaintiff’s partial pre-application does not constitute a completed application for credit as

contemplated by ECOA and the implementing regulation. See Sifuentes v Capital One, 2:22-CV-

00190-JCB, 2023 WL 3284991, at *4 (D. Utah May 4, 2023), motion for relief from judgment

denied, 2:22-CV-00190-JCB, 2023 WL 4052733 (D. Utah June 16, 2023), and affd, 23-4088, 2023

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6849278 (D. Utah Oct. 17, 2023), and affd, 23-4088, 2023 WL 6060382 (10th Cir Sept. 18, 2023)

(distinguishing a submission of information for a “pre-approval” of a Capital One credit card

product from an “application” under the statutory framework of ECOA). Accordingly, Plaintiff

has not (and cannot) plead the necessary elements of an ECOA claim and the Court should dismiss

the Second Amended Complaint with prejudice.

       B.      Plaintiff’s ECOA Claim Must be Dismissed Because Plaintiff Does Not Plead
               He Is a Member of Protected Class.

       In his Opposition, Plaintiff’s contends that he was discriminated against on the basis of his

income. See Doc. 34, generally. As set forth in Capital One’s motion, ECOA does not prohibit the

denial of credit on the basis of income. See Powell v. Am. Gen. Fin. Inc., 310 F. Supp. 2d 481, 488

(N.D.N.Y. 2004) (dismissing plaintiff’s ECOA claim finding that Defendants’ reliance on



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indicators of creditworthiness, such as credit histories and income levels of applications, were

“legitimate reasons” for rejecting Plaintiff’s application). Moreover, the very regulation Plaintiff

cites to in his Opposition expressly allows for creditors to deny applications based on income. See

Doc. 34, pp. 5-6, see also 12 C.F.R. 202.6(b)(5) (“…a creditor may consider the amount and

probable continuance of any income in evaluating an applicant's creditworthiness…”).

Accordingly, Plaintiff fails to plead the elements required to state a claim under ECOA and the

Second Amended Complaint should be dismissed with prejudice.

                                         CONCLUSION

       For these reasons, Capital One respectfully requests the Court dismiss the Second

Amended Complaint in its entirety and with prejudice pursuant to Rule 12(b)(6) of the Federal

Rules of Civil Procedure, and further award Capital One such other and further relief as this Court

deems just and proper.


Dated: New York, New York                     Respectfully submitted,
       June 10, 2025


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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 10th day of June, 2025, I caused to be electronically filed with

the Clerk of the Court using the CM/ECF system the foregoing document, and sent, via FedEx

Overnight Mail, to the following party. Service of the foregoing was within the time prescribed

by the Rules of the Court.

                                     Laguerre Lensendro
                                     Plaintiff
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